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                         UNITED STATES DISTRICT COURT
15                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
16
                                            ) Case No.: 2-18-CV-05741
17    LUCAS R., et al.,                     )
      Plaintiffs,                           ) MOTION TO DISMISS AND
18                                          ) ALTERNATIVE
                                              TRANSFER
                                                              MOTION TO
             vs.                            )
19                                          ) Hearing on Motion to Dismiss and Class
20    ALEX AZAR, Secretary of U.S. Dep’t of ) Certification:
      Health and Human Services, et al.,    ) November 2, 2018
21    Defendants                            )
                                            ) Honorable Judge Dolly Gee
22                                          )
23
24

                  MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS
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 1                                     INTRODUCTION
 2          Defendants move to dismiss the First Amended Complaint (Comp. ¶), ECF
 3    No. 81.1 The Court should dismiss the institutional Plaintiffs for two distinct
 4    reasons: They are not class members and they lack standing. The Court should
 5    dismiss the entire lawsuit for improper venue under Fed. R. Civ. P. 12(b)(3). If the
 6    Court were to dismiss, it may transfer this action to the district for the District of
 7    Columbia. In the alternative, the Complaint fails to plead sufficient facts or a
 8    cognizable legal theory as to how the Defendants violated the statutes and
 9    Constitution in the manner alleged, and the Court should dismiss each individual
10    claim under Fed. R. Civ. P. 12(b)(6).
11                                      BACKGROUND
12    I.    Plaintiffs’ Amended Complaint
13          Plaintiffs are unaccompanied alien minors of varying ages and two legal
14    assistance organizations. Comp. ¶ ¶ 10-16. In their action, they seek to represent a
15    class defined as: “All children in ORR custody pursuant to 6 U.S.C. § 279 and/or
16    8 U.S.C. § 1232” with six sub classes. Comp. ¶ 96. They seek to present five
17    general claims to this Court, that: (1) ORR violates the Flores Settlement, various
18    statutes, and due process by delaying the release of children to sponsors, including
19    non-parental sponsors, without providing a meaningful opportunity to be heard
20    regarding the sponsor’s fitness, even before any final determination has been
21    made; (2) ORR violates the Flores Settlement, various statutes, and due process by
22
23
      1
            This brief is filed on behalf of the agency and official-capacity Defendants.
24    The undersigned do not represent any Defendant in his or her personal capacity.

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 1    placing the Plaintiffs in various facilities without a meaningful opportunity to be
 2    heard before or after such placement; (3) ORR violates the Flores Settlement,
 3    various statutes, and due process with respect to the administration of psychotropic
 4    medications; (4) ORR violates the Flores Settlement, various statutes, and due
 5    process by allegedly blocking Federally funded contractors providing legal
 6    assistance to unaccompanied minors from representing such minors in matters
 7    relating to placement, medication, and release; and (5) ORR violates Section 504
 8    of the Rehabilitation Act by placing some of the class members in Residential
 9    Treatment Centers, secure facilities or staff-secure facilities or by not releasing
10    them as quickly as desired because of an alleged disability. Comp. ¶ 179-94.
11    II.   The Flores litigation
12          The original Flores case was based on various allegations about the former
13    Immigration and Naturalization Service’s (INS) practices about the detention of
14    minor aliens. One allegation was that “defendants make no effort to assess the
15    qualifications of other adult relatives or friends regardless of how qualified and
16    responsible such adults may be.” See Flores v. Sessions, No. 85-cv-0544, 1985
17    Comp. ECF No. 1, ¶ 6. Another allegation was that the failure to provide “prompt,
18    mandatory, neutral and detached review following arrest of the suitability of any
19    available adult” violated the Due Process clause. Flores, 1985 Comp. ¶, ECF
20    No. 1, ¶ 69(b). In settling the matter, class members agreed that the Flores
21    Settlement “constitutes a full and complete resolution of the issues raised in this
22    action.” Preamble at 4. The Flores Settlement created a rudimentary process to
23    address each of the concerns in this current action. Since the Flores Settlement

24    came to fruition, class members have filed various motions to enforce its terms.

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 1          On July 31, 2018, the Court granted, in part, and denied, in part, the Flores
 2    class members’ most recent Motion to Enforce. See Flores, July 31, 2018 Order,
 3    ECF No. 409, at 27. Pertinent here, the Court ordered ORR to follow Texas law in
 4    administering mental health medication. Id. at 24. Also, for release of minors to a
 5    sponsor, the Court ordered ORR to cease requiring the approval of high-level
 6    officials and ordered that ORR not apply a blanket rule that post-release services
 7    be in place. Id. at 27-31.
 8                                       ARGUMENT
 9    I.    The Court should dismiss the institutional Plaintiffs as they are not
            members of the proposed class and fail all the standing requirements.
10
11          The Court should disregard any allegation by the institutional Plaintiffs. As

12    an initial and straightforward problem, the institutional Plaintiffs—Children Center

13    and UCARE—are not members of the proposed class. The class is defined as

14    “[a]ll children in ORR’s custody. . . .” Comp. ¶ 96. However, the institutions are

15    not “children.” Even if proposed classes are sufficient, the institutions are not a

16    proper plaintiff. Cf. Ball v. Union Carbide Corp., 212 F.R.D. 380, 390 (E.D. Tenn.

17    2002), aff’d, 376 F.3d 554 (6th Cir. 2004) (rejecting class, in part, when “at least

18    two named plaintiffs are not even members of the plaintiffs’ proposed class”).

19          In addition to not being class members, they lack standing. “In essence the

20    question of standing is whether the litigant is entitled to have the court decide the

21    merits of the dispute or of particular issues.” Warth v. Seldin, 422 U.S. 490, 498

22    (1975). The party invoking federal jurisdiction bears the burden of establishing the

23    elements of standing. Id. at 508. At the pleading stage, general factual allegations
      of injury resulting from the defendant’s conduct may suffice, however, “unadorned
24

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 1    speculation will not suffice to invoke the federal judicial power.” Simon v. Eastern
 2    Kentucky Welfare Rights Organization, 426 U.S. 26, 44 (1976). “A federal court is
 3    powerless to create its own jurisdiction by embellishing otherwise deficient
 4    allegations of standing.” Whitmore v. Arkansas, 495 U.S. 149, 155-56 (1990).
 5          The institutional Plaintiffs must satisfy “the irreducible constitutional
 6    minimum of standing” by demonstrating: (1) they have suffered an “injury in
 7    fact—an invasion of a legally protected interest which is (a) concrete and
 8    particularized, and (b) actual or imminent, not conjectural or hypothetical;” (2)
 9    there is a causal connection between the injury and the conduct complained of—
10    that is, the injury is “fairly traceable” to the challenged action of the defendant; and
11    (3) it is “likely,” as opposed to merely “speculative,” that the injury will be
12    redressed by a favorable judicial decision. Lujan v. Defenders of Wildlife, 504
13    U.S. 555, 560-561 (1992).2
14          The institutional Plaintiffs fail all three requirements. First, they have
15    identified no injury in fact.3 A plaintiff’s “injury must be concrete, particularized,
16    and actual or imminent.” Coons v. Lew, 762 F.3d 891, 897 (9th Cir. 2014), as
17
18    2
             The institutions state that the suit is not on behalf of the children they serve.
19    Comp. ¶ 17-19. Thus, they do not seek “representational standing.” See Friends
      of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167, 181 (2000).
20
      3
             There is “tension” in class actions about whether uncertainty of injury is a
21    standing issue or a problem with Rule 23’s “commonality” requirement. Senne v.
      Kansas City Royals Baseball Corp., 114 F. Supp. 3d 906, 918 (N.D. Cal. 2015)
22
      (quoting Gratz v. Bollinger, 539 U.S. 244, 263 & 263, n. 15 (2003)). Here, the
23    institutional plaintiffs fail both—though the focus of this motion is on lack of
      standing. However, since the institutional plaintiffs are not “children,” they cannot
24    have issues that are common to the class.

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 1    amended (Sept. 2, 2014). Each of these organizations provides some manner of
 2    service to children. Comp. ¶ 17-19. They “seek only prospective equitable relief
 3    and nominal damages.” Comp. ¶ 18. As such, the alleged harm apparently is in
 4    the future. The injury is entirely speculative. The Complaint assumes that some
 5    child in ORR custody may eventually use their services for which they may receive
 6    funds or for which they may have to provide extra treatment. See Comp. ¶ 19
 7    (“ORR has placed many unaccompanied children in the communities” that the
 8    organizations serve) (emphasis added). That argument suggests some speculative
 9    loss of a client or customer. For example, in a similar case, plaintiffs who ran a
10    corporation alleged that defendants made false statements that would harm the
11    corporation’s sales. Neal v. Au, No. CV-13-00406-PHX-MHB, 2015 WL
12    12552045, at *4 (D. Ariz. Mar. 18, 2015). However, the Court concluded “that
13    Plaintiffs, as owners, will lose income, is too speculative to establish an injury in
14    fact to Plaintiffs, and to cure the [complaint’s deficiencies].” Id.
15          They assert that their ability to “raise funds” depends on the children they
16    serve—though how they raise these funds is unclear. See Comp. ¶ 17, 18, 19.
17    However, they suffer no injury from the alleged delay. Even if ORR actions were
18    improper, the child would eventually be served by the organization. Any
19    purportedly delay would not decrease their funding. As such, the institutions
20    would receive their desired funding. The institutional Plaintiffs also suggest that
21    the policies “deny” them the “opportunity to serve them.” See Comp. ¶ 19.
22    However, that is illogical; when a child is released, the organizations have their
23    opportunity to serve them and receive funds. Ultimately, the supposed loss of
24    income and opportunities to meet their goals is speculative.

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 1          For the second and third requirements, the Complaint fails to allege harm
 2    that is fairly traceable to ORR’s alleged actions and that would be redressed by a
 3    favorable decision. The “fairly traceable” and “redressability” requirements are
 4    related and are “two facets of a single causation requirement.” Washington Envtl.
 5    Council v. Bellon, 732 F.3d 1131, 1146 (9th Cir. 2013) (quoting Allen v. Wright,
 6    468 U.S. 737, 753 n. 19 (1984)). Causality examines the connection between the
 7    alleged misconduct and injury, and redressability examines the connection between
 8    the alleged injury and requested judicial relief. Id. Redressability does not require
 9    certainty, but a substantial likelihood that the injury will be redressed by a
10    favorable decision. Wolfson v. Brammer, 616 F.3d 1045, 1056 (9th Cir. 2010).
11          Here, no relationship exists between the alleged misconduct and the
12    speculative injury. Again, the delay of children would not impact their funding,
13    even assuming some child eventually uses their services. The only other allegation
14    of harm misunderstands ORR’s role, and fails to demonstrate any relationship
15    between ORR’s actions and the alleged injury. Plaintiff Children Center asserts a
16    chain of injury: that the children suffer by traveling through Mexico and then
17    suffer being arrested for violating immigration law and then suffer being in
18    “immigration detention.” Comp. ¶ 17. But the children in ORR’s custody are not
19    in immigration detention—they are in ORR’s temporary custody in order to protect
20    them and find an appropriate caretaker. See Reno v. Flores, 507 U.S. 292, 298
21    (1993) (“’Legal custody’ rather than ‘detention’ more accurately describes the
22    reality of the arrangement, however, since there are not correctional institutional
23    but facilities that meet ‘state licensing requirements for the provision of shelter
24    care, foster care, group care, and related services to depending children.’”). Taken

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 1    at face value, no harm is “fairly traceable” to the allegations. Any harm that the
 2    child faced from ORR’s attempts to find an appropriate sponsor is attenuated to the
 3    harms Children Center alleges.
 4          The claims also fail to show a “substantial likelihood” that success would
 5    redress the alleged injury. See Serena v. Mock, 547 F.3d 1051, 1054 (9th Cir.
 6    2008) (plaintiff must show “substantial likelihood that the requested relief will
 7    redress or prevent the alleged injury”). Again, even assuming a child would
 8    eventually use their services, a favorable decision would not undo any supposed
 9    harm. The children would still travel through Mexico, they would still be arrested
10    by immigration authorities, and they would still be transferred to ORR’s custody
11    for placement. Even if ORR’s responsibility were changed by a decision, there is
12    no change: The institutions still receive their funding for ultimately serving a
13    child. Accordingly, the institutional Plaintiffs fail to meet any of the three required
14    prongs, and the Court should sever and dismiss them from this action.
15    II.   The Court should dismiss this action for improper venue.
16          This Court is the improper venue to pursue this class action lawsuit under
17    Fed. R. Civ. P. 12(b)(3). In moving to dismiss for improper venue, “pleadings
18    need not be accepted as true, and facts outside the pleadings may be considered.”
19    Doe 1 v. AOL LLC, 552 F.3d 1077, 1081 (9th Cir. 2009). Plaintiffs bear the
20    “burden of showing that venue [is] properly laid in” this Court. Piedmont Label
21    Co. v. Sun Garden Packing Co., 598 F.2d 491, 496 (9th Cir. 1979). In a suit
22    against the United States, its officers, or its agencies, a civil action “may, except as
23    otherwise provided by law, be brought in any judicial district in which (A) a

24    defendant in the action resides, (B) a substantial part of the events or omissions

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 1    giving rise to the claim occurred . . . or (C) the plaintiff resides if no real property
 2    is involved in the action.” 28 U.S.C. § 1391(e)(1).
 3          A.     The Flores Settlement does not create venue in this district for
                   every possible lawsuit or complaint by a Flores class member.
 4
 5          Plaintiffs incorrectly assert that this Court is the proper “venue” under

 6    Paragraph 37 of the Flores Settlement for their claims in this putative class action.

 7    Comp. ¶ 8. That is incorrect. Paragraph 37 only allows a Flores class member to

 8    enforce in this Court any purported violation of the provisions of that Settlement.

 9    Flores Settlement ¶ 37. That is not a sweeping grant of venue. If Plaintiffs’ goal is

10    to validate rights in that action, then it must proceed in that action.

11          Plaintiffs’ individually filed preliminary injunctions and this Court’s

12    subsequent orders reflect that this is not a meaningful class action. These

13    individualized claims belong in other courts. Paragraph 24B of the Flores

14    Settlement specifically addresses where proper venue lies. It provides that one who

15    disagrees with aspects of their placement or treatment “may seek judicial review in

16    any United States District Court with jurisdiction and venue over the matter to

17    challenge that placement determination or to allege noncompliance.” Flores

18    Settlement ¶ 24B (emphasis added). In such a case, “the United States District

19    Court is limited to entering an order solely affecting the individual claims of the

20    minor bringing the action.” Id. This Court is not the proper venue for any

21    individualized complaints. It is only the proper venue for complaints under

22    Paragraph 37 of the Flores Settlement.

23          Plaintiffs only have the rights explicitly provided for in the Flores
      Settlement. Flores v. Lynch, 828 F.3d 898, 908 (9th Cir. 2016). This does not
24

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 1    leave the parties with no recourse: If either party desires to change that bargain, a
 2    process exists. Id. at 909-10 (discussing motions for relief from judgment under
 3    Fed. R. Civ. P. 60(b)(5)). The Ninth Circuit has stated, “The Flores Settlement is
 4    the reflection of both parties’ bargained-for positions.” Flores v. Sessions, 862
 5    F.3d 863, 879 (9th Cir. 2017) (emphasis added). The Court continued, “The
 6    process for detaining and releasing unaccompanied minors may result in a
 7    complicated set of determinations, but it is the one the government agreed to when
 8    it signed the Settlement in 1997.” Id. This is also the process to which Plaintiffs
 9    agreed to in 1997. Plaintiffs agreed to receive only the protections outlined in the
10    Flores Settlement that this lawsuit seeks to modify. This Court cannot undo that
11    bargain in a separate litigation. Plaintiffs must, therefore, demonstrate venue under
12    an applicable statute.
13          B.     This District is not the proper venue as a class action.
14          Plaintiffs’ superficial assertions of venue for any issue outside of Flores do
15    not meet their burden to demonstrate that this district is the proper venue under the
16    statute. As an initial matter, Plaintiffs Lucas R., Sirena P., and Benjamin F. have
17    been mooted by their release to a sponsor. See Declaration, ECF No. 100. As
18    such, their allegations have no bearing on the issues surrounding this class action—
19    no evidence relevant to them would have any bearing on a class of children “in”
20    ORR’s custody. Comp. ¶ 96. To be clear, Defendants are not suggesting that the
21    entire lawsuit is moot for the above reason. However, for venue, the Court should
22    consider the relevant events for the named plaintiffs with an active controversy, as
23    “the ‘events’ in question are only those involving the named plaintiffs.” In re

24    Bozic, 888 F.3d 1048, 1053 (9th Cir. 2018). As such, the Court should disregard

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 1    any of their claims in considering venue. Likewise, the institutional Plaintiffs—
 2    who all reside in Los Angeles—have no bearing on venue. They are mere
 3    interlopers in this class action and are not relevant to any aspect of this action.
 4          The Complaint superficially suggests that this District is the proper venue
 5    because “acts complained of herein occurred in this district, Defendants have
 6    offices in this district.” Comp. ¶ 8. The Complaint fails to state what event—and
 7    what “substantial” event under the statute—occurred in this District. Otherwise,
 8    Federal defendants do not “reside” in every possible district—or else there would
 9    be no need for the statue to establish venue through other means. 4
10          First, Plaintiffs bald assertion that some “relevant” event occurred in this
11    District lacks any support. Comp. ¶ 8. They challenge the purported “unlawful
12    policies and practices” of Defendants, Comp. ¶ 1, but they fail to illustrate how any
13    “policy or practice” occurred in this District. To the extent polices are challenged,
14    an action is appropriate where the agency’s decision-making took place: in the
15    District of Columbia. See Nat’l Ass’n of Home Builders v. EPA, 675 F. Supp. 2d
16    173, 179 (D.D.C. 2009) (“under the APA, courts generally focus on where the
17    decision making process occurred to determine where claims arose”).
18          The only events that occurred in this District are not pertinent to a class
19    action. For the class-action claim about placement with sponsors, the Complaint
20    relies on policies set forth on ORR’s website. Comp. ¶ 109. However, that
21    website clearly reflects that ORR is based in Washington, D.C.—not the Central
22
      4
23           As this Court has already recognized in denying the preliminary injunction
      in this action, a petition for writ of habeas corpus must be brought in a district
24    court with jurisdiction over a warden is appropriate. See Orders, ECF Nos. 79, 82.

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 1    District of California. See https://www.acf.hhs.gov/orr (last visited September 25,
 2    2018). To complain about the policies set by ORR is to complain about actions
 3    outside of this District.
 4           For the class-action claim about improper placement, the Complaint again
 5    relies on the policies on ORR’s website. Comp. ¶ 123. Again, no relevant action
 6    on those policies occurred in this District. For the class-action claims about
 7    providing psychiatric medications and representation by counsel, the Complaint
 8    relies on policies and actions that, again, did not take place in this District. Finally
 9    the Rehabilitation Claims fail to allege any harm in any particular locale. See
10    Comp. ¶ 153-77. But, again, if they object to policies, there is no reason to assert
11    these occurred in this District. Although Plaintiffs’ actions of individual
12    Preliminary Injunctions have cast doubt on to the actual nature of this lawsuit, this
13    District is an improper venue for a class action.
14           The only incidents with any tangential relationship to this District have no
15    bearing on any claim related to the class action. For example, while Lucas R. was
16    in Texas, ORR declined to place him with his sister who lived in this District.
17    However, that is not relevant as Lucas R. is no longer a relevant actor in this
18    litigation given his release and the residence of his sister has no bearing on venue.
19    Even if Lucas R. were a relevant actor, there is no claim that the policies and
20    practices regarding his release were developed in this District; no claim that
21    decisions about release and suitability were made in this District; no claim that
22    decision about medications were made in this District. There is no claim that
23    anything pertinent to the class occurred in this District. Moreover, to the extent,

24    the sister suggests some harm to her, she is not a plaintiff. Cf. Guadalupe-Salazar

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 1    v. Napolitano, No. 10-CV-01173 JW, 2010 WL 2640471, at *2 (N.D. Cal. June 30,
 2    2010) (“Since Mr. Prasad, as a ‘next friend,’ merely stands in the shoes of
 3    Petitioner, he must bring the action where venue would have otherwise been proper
 4    if the real party in interest (Petitioner) had brought the action on his own behalf.”)
 5    (citing Adem v. Bush, 425 F.Supp.2d 7, 11 (D.D.C. 2006)). Therefore, no
 6    substantial, relevant event to this class action occurred in this District.
 7          Second, ORR and HHS do not “reside” in this District. A Federal agency
 8    generally resides where it is headquartered: In this case, Washington, D.C.
 9    Reuben H. Donnelley Corp. v. F.T.C., 580 F.2d 264, 267 (7th Cir. 1978). 5 In
10    addressing the expansion of the venue rules, the Seventh Circuit recognized that it
11    cannot find venue merely because an agency has an office in the district: “To hold
12    that a federal agency can be sued . . . wherever it maintains an office would, as a
13    practical matter, render [the other routes to venue] superfluous. With the vast
14    growth of the federal bureaucracy, federal agencies undoubtedly have offices in
15    most, if not all, judicial districts. Reuben H. Donnelley Corp., 580 F.2d at 267.
16    The court concluded that there “is nothing inequitable in limiting the residence of a
17    federal agency to the District of Columbia. That has been the settled law for
18
19    5
             Courts have often found that such claims against policies or practices of the
20    Federal government are appropriately filed where the head of the agency is located,
      even if there is a local office. See, e.g., Kim v. McHugh, No. 13-00616, 2014 WL
21    1580614, at *2 (D. Haw. Apr. 18, 2014) (“although the headquarters . . . may be
      located in Hawaii, the Defendant in this action is the Secretary of the United States
22
      Army, John McHugh, whose principal office is the Pentagon located in the Eastern
23    District of Virginia”); Christopher v. United States, No. 01-3613, 2001 WL
      1256915, at *1 (N.D. Cal. Oct. 12, 2001) (same); Jenkins v. West, No. 95-0789,
24    1995 WL 704018, at *4 (D.D.C. Oct. 23, 1995) (same).

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 1    decades.” Id. In that case, the Seventh Circuit ultimately concluded that the local
 2    district was not the appropriate venue to sue the Federal Trade Commission,
 3    despite that Agency having a local office in the district. Id. at 266-67; see Zhang v.
 4    Chertoff, No. 08-CV-02589, 2008 WL 5271995, at *3 (N.D. Cal. Dec. 15, 2008).
 5           Plaintiffs rely on Defendants having some unidentified, unknown “office” in
 6    this district. Comp. ¶ 8. That is insufficient. If that were the standard, then venue
 7    to challenge any agency policy would be appropriate in nearly every district in the
 8    United States. See Reuben H. Donnelley Corp., 580 F.2d at 267. Such a reading
 9    would render superfluous the other routes to venue: where plaintiffs reside or
10    where pertinent events or omissions occurred. See 28 U.S.C. § 1391(e)(1). This
11    does not, therefore, provide this Court with venue. 6 Accordingly, Plaintiffs have
12    failed to satisfy the requirement that this case should be litigated in this District.
13    III.   The Court should transfer this putative class action to the
             District for the District of Columbia as the appropriate venue.
14
15           As this District is not the proper venue, the Court “shall dismiss, or if it be in

16    the interest of justice, transfer such case to any district or division in which it could

17    have been brought.” 28 U.S.C. § 1406(a). “[N]ormally transfer will be in the

18    interest of justice because normally dismissal of an action that could be brought

19    elsewhere is time-consuming and justice-defeating.” Amity Rubberized Pen Co. v.

20    Mkt. Quest Grp. Inc., 793 F.3d 991, 996 (9th Cir. 2015) (citations omitted). The

21    Court must weigh a variety of factors, “including (1) the plaintiff’s choice of

22    forum; (2) the convenience of the parties; (3) the convenience of the witnesses; (4)

23
      6
            As discussed above, the institutional Plaintiffs—located in Los Angeles—do
24    not provide this Court with venue as they are not members of the proposed class.

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 1    the location of books and records; (5) which forum’s law applies; (6) the interests
 2    of justice; and (7) administrative considerations. Allstar Mktg. Grp., LLC v. Your
 3    Store Online, LLC, 666 F. Supp. 2d 1109, 1130 (C.D. Cal. 2009).
 4           Taken together, the District for the District of Columbia is the most
 5    appropriate forum. First, Plaintiff’s choice of forum does not favor this District.
 6    Ordinarily, a plaintiff’s choice of venue is given deference. Allstar Mktg., 666 F.
 7    Supp. 2d at 1131. However, “the Ninth Circuit, like other courts, has noted that
 8    the weight to be given the plaintiff’s choice of forum is discounted where the
 9    action is a class action.” Saleh v. Titan Corp., 361 F. Supp. 2d 1152, 1157 (S.D.
10    Cal. 2005) (citing Lou v. Belzberg, 834 F.2d 730, 739 (9th Cir. 1987)). That
11    deference is even less “when the plaintiff elects to pursue a case outside its home
12    forum.” Allstar Mktg., 666 F. Supp. 2d at 1131. Here, the remaining named
13    Plaintiffs reside in a variety of Districts. Comp. ¶ 10-14. This factor does not
14    favor this District.
15           Second, the convenience of the parties does not favor any particular forum.
16    As noted above, no named Plaintiffs resides in this District—instead, they reside in
17    a variety of Districts. Indeed, no District contains more than one party—if the
18    Defendants are considered as one group. The strongest relationship to this District
19    is that of Plaintiffs’ attorneys, but that is not a proper consideration. Eclipse IP
20    LLC v. Volkswagen Grp. of Am., Inc., No. EDCV 12-2087, 2013 WL 9935572, at
21    *5 (C.D. Cal. May 10, 2013) (citing In re Horseshoe Entertainment, 337 F.3d 429,
22    434 (5th Cir.2003) (holding location of counsel “irrelevant and improper for
23    consideration in determining the question of transfer of venue”)). Indeed, as the
24    Northern District of California has recognized, there is “another reason to discount

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 1    the location of counsel—namely, it would be easy to manipulate venue simply by
 2    obtaining counsel in the venue of choice.” Wilson v. Walgreen Co., No. C-11-
 3    2930, 2011 WL 4345079, at *5 (N.D. Cal. Sept. 14, 2011) (citation omitted).
 4          Third and fourth, the convenience of the witnesses and location of books and
 5    record favors the District for the District of Columbia. The location of witnesses is
 6    “often the most important factor” though the convenience of party witnesses is not
 7    as compelling. Allstar Mktg., 666 F. Supp. 2d at 1132; see Metz v. U.S. Life Ins.
 8    Co. in City of New York, 674 F. Supp. 2d 1141, 1148 (C.D. Cal. 2009) (transferring
 9    action to the SDNY where “the majority of potential witnesses are in the New
10    York area”). This is a class action about ORR’s alleged “policy and practice.” See
11    Comp. ¶ 180, 183, 186, 189, 192. As noted above, ORR is headquartered in
12    Washington, D.C.—where the policies were created. As such, the relevant
13    witnesses and any records would be located in that area. As reflected in the
14    Court’s denial of the preliminary injunctions, this case is not about individual
15    matters: transfer would not favor where any one child is located. Accordingly, the
16    third and fourth factors favor the District for the District of Columbia. 7
17          The final factors are neutral. Allstar Mktg. Grp., 666 F. Supp. 2d at 1130.
18    The relevant-law factor is irrelevant as this is Federal law. The interests of justice
19    factor is neutral, outside of the convenience of parties that favors the District of
20    Columbia. “The ‘interest[s] of justice’ include such concerns as ensuring speedy
21    trials, trying related litigation together, and having a judge who is familiar with the
22
      7
23          Although this motion is filed solely on behalf of the agency and official-
      capacity Defendants, the witnesses and Defendant for the Bivens claim would also
24    be located in the Washington, D.C., metropolitan area. See Comp. ¶ 22.

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 1    applicable law try the case.” Id. at 1134 (quoting Heller Financial, Inc. v.
 2    Midwhey Powder Co., Inc., 883 F.2d 1286, 1293 (7th Cir. 1989)). Speed is not a
 3    concern as this case is still in the beginning stages and any individual issues can be
 4    raised as the Court has stated. See Orders, ECF Nos. 79, 82. Moreover, as this
 5    cannot be a Flores claim, then the District’s relationship to that litigation is not
 6    compelling. Finally, for administrative convenience, Defendants are unaware of
 7    any court whose docket is “less congested” than any other court’s docket. See
 8    Allstar Mktg., 666 F. Supp. 2d at 1134.
 9          Ultimately, the Central District of California is not a proper venue for this
10    action. The only other possible Districts are in the Eastern District for California,
11    Western District for Michigan, Southern District for New York, Southern District
12    for Texas, or Washington, D.C. As this case is about the policies and practices that
13    were created in the Washington metropolitan area and the witnesses are in that
14    area, transfer is most appropriate to the District for the District of Columbia.
15    IV.   Even assuming venue, the Court should dismiss each claim for failing to
            state a claim upon which relief can be granted due to a vague complaint.
16
17          If the Court were to not transfer this action, then the Court should dismiss

18    each individual claim for various failures of pleading. Federal Rule of Civil

19    Procedure 12(b)(6) allows a court to dismiss a complaint for “failure to state a

20    claim upon which relief can be granted.” Dismissal of a complaint can be based on

21    either a lack of a cognizable legal theory or the absence of sufficient facts alleged

22    under a cognizable legal theory. Balistreri v. Pacifica Police Dep’t, 901 F.2d 696,

23    699 (9th Cir. 1990). On a motion to dismiss for failure to state a claim, courts
      accept as true all well-pleaded allegations of material fact and construes them in a
24

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 1    light most favorable to the non-moving party. Manzarek v. St. Paul Fire & Marine
 2    Ins. Co., 519 F.3d 1025, 1031-32 (9th Cir. 2008). In ruling on a motion to dismiss,
 3    a court may only consider the allegations contained in the pleadings, exhibits
 4    attached to or referenced in the complaint, and matters properly subject to judicial
 5    notice. Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 322 (2007). To
 6    survive a motion to dismiss, the complaint “must contain sufficient factual matter,
 7    accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v.
 8    Iqbal, 556 U.S. 662, 663, (2009) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S.
 9    544, 570 (2007)). Each claim raised in the Complaint rests upon insufficiently
10    plead facts or upon an unclear legal theory thus dismissal under Fed. R. Civ. P.
11    12(b)(6) is proper.
12          A.     The Complaint’s allegations about the Flores litigation fail to state
                   a legally cognizable claim in this separate class-action litigation.
13
14          Any claim based on Flores is necessarily not before this Court in a separate

15    cause of action. The first four claims for relief explicitly assert a violation of

16    Flores. See Comp. ¶ 181, 184, 187, 190. Those necessarily fail to state a claim

17    upon which relief can be granted. Plaintiffs may not re-write or re-bargain the

18    Flores Settlement by way of a separate cause of action. The Ninth Circuit has held

19    that “Plaintiffs generally have no right to maintain two separate actions involving

20    the same subject matter at the same time in the same court and against the same

21    defendant.” Adams v. Cal. Dep’t of Health Servs., 487 F.3d 684, 688 (9th Cir.

22    2007). If Plaintiffs’ believe that the complained of policies and practices violate

23    Flores, then they must proceed in that action. Indeed, the court already granted
      some of the relief sought regarding placement and administration of medication for
24

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 1    mental health issues. See Flores, July 31, 2018 Order, ECF No. 409, at 27. The
 2    Court should dismiss any Flores-related complaint.
 3          B.     The Complaint’s various TVPRA claims fail to state a legally
                   cognizable claim as there is no cause of action under that statute.
 4
 5          The Court should also dismiss any claim based on the TVPRA. Plaintiffs do

 6    not credibly support their position that they can bring their first, second, third, and

 7    fourth claims under 8 U.S.C. § 1232, TVPRA § 235, without an express cause of

 8    action. Plaintiffs fail to carry their burden to establish such a right here. Alexander

 9    v. Sandoval, 532 U.S. 275, 301 n.8 (2001). They point to no “rights creating

10    language” in the statute, undertake no structural analysis to explain how Congress

11    may have implied a right of action here, and point to no specific purpose in the

12    statute that evinces a desire to allow suit under the statute. No part of the section

13    allows for any party to sue based solely on that section. See generally 8 U.S.C.

14    § 1232. The only explicit cause of action created by the TVPRA was to allow a

15    civil lawsuit by victims against those perpetrating illegal trafficking or slavery.

16    See 18 U.S.C. § 1595. In the absence of evidence of any cause of action, Plaintiffs

17    fail to establish that section 1232 contains an implied right of action, and, thus,

18    cannot rely on that statue as a basis for their claims. Accordingly, the claims based

19    on Flores and the TVPRA necessarily fail.

20          C.     The Complaint’s due process allegations fail to provide the
                   requisite allegations for a cognizable claim.
21
            Plaintiffs’ unelaborated assertions about the Fifth Amendment fail to state a
22
      claim. Initially, the Complaint has not identified the substantive right being
23
      violated. “Substantive due process analysis must begin with a careful description
24

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 1    of the asserted right, for [t]he doctrine of judicial self-restraint requires us to
 2    exercise the utmost care whenever we are asked to break new ground in this field.”
 3    Reno v. Flores, 507 U.S. at 302. While Plaintiffs assert a “fundamental right[],”
 4    they fail to identify it. Comp. ¶ 180. That failure is problematic in light of
 5    Supreme Court’s admonition against a substantive due process right in this
 6    situation: “We are unaware, however, that any court—aside from the courts
 7    below—has ever held that a child has a constitutional right not to be placed in a
 8    decent and humane custodial institution if there is available a responsible person
 9    unwilling to become the child’s legal guardian but willing to undertake temporary
10    legal custody. The mere novelty of such a claim is reason enough to doubt that
11    ‘substantive due process’ sustains it.”8 Id. When fundamental liberty interests are
12    not involved, the governmental action is judged by the “standard of rationally
13    advancing some legitimate government purpose.” Id. Thus, it is important that the
14    liberty interest at issue be carefully described at the outset of a substantive due
15    process analysis. Washington v. Glucksberg, 521 U.S. 702, 720-21 (1997).
16          In this Complaint, however, the allegation is simply an assertion of a
17    violation of “the procedural and substantive components of the Due Process clause
18    of the Fifth Amendment.” See Compl. ¶ 181. The failure to plead a substantive
19    right is fatal to the various procedural due process claims. “Procedural due process
20    is implicated where “government decisions [ ] deprive individuals of ‘liberty’ or
21
22    8
            That admonition is particularly important in the context of arriving aliens:
23    “Congress regularly makes rules that would be unacceptable if applied to citizens.”
      Fiallo v. Bell, 430 U.S. 787, 792 (1977).
24

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 1    ‘property’ interests.” Mathews v. Elkridge, 424 U.S. 319, 332 (1976). Plaintiffs
 2    must identify the possessed protected liberty interest and identify how they were
 3    deprived of that interest without process to which they were constitutionally
 4    entitled. Bd. of Regents of State Colleges v. Roth. 408 U.S. 564, 569 (1972). But,
 5    “[t]he range of interests protected by procedural due process is not infinite.” Id. at
 6    570. To emphasize, the only procedural claims fall under procedural due process,
 7    as Plaintiffs have explicitly disavowed a right to a procedure under the Flores
 8    Settlement of the TVPRA. Comp. ¶ 105. That explicit disavowal is proper as the
 9    Supreme Court has rejected attempts to manage agencies without clear authority:
10    “this much is absolutely clear. Absent constitutional constraints or extremely
11    compelling circumstances the administrative agencies should be free to fashion
12    their own rules of procedure and to pursue methods of inquiry capable of
13    permitting them to discharge their multitudinous duties.” Vermont Yankee Nuclear
14    Power Corp. v. Nat. Res. Def. Council, Inc., 435 U.S. 519, 543 (1978). Failing to
15    plead procedural due process, there is nothing left to mandate a particular process.
16          Plaintiffs’ claim concerns only procedures to be employed regarding the
17    ORR custody of non-admitted aliens who are only “arriving aliens.” United States
18    ex rel. Mezei, 345 U.S. 206, 214 (1953). Arriving aliens do not have the
19    substantial pre-existing connections to this country which are held by other aliens.
20    , As the Ninth Circuit recognized in Agnov, “an alien who has never formally
21    entered the United States” has no constitutional right to procedural due process.
22    Angov v. Lynch, 788 F.3d 893, 898 (9th Cir. 2015), cert. denied, 136 S. Ct. 896,
23    193 L. Ed. 2d 789 (2016). In this situation, “procedural due process is simply
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 1    ‘whatever the procedure authorized by Congress’ happens to be.” Id. (internal
 2    citation omitted).
 3          Finally, to the extent Plaintiffs argue that they are entitled to procedural due
 4    process rights beyond those provided by Congress on the basis that they initially
 5    evaded U.S. Customs and Border Protection by not presenting themselves at a port
 6    of entry, their initial apprehension close in time and geography to the border
 7    precludes their argument because they are “assimilated” to the status of an arriving
 8    alien. See U.S. v. Barajas-Alvarado, 655 F.3d 1077, 1088 (9th Cir. 2011).
 9    Accordingly, the due process claim is insufficiently plead.
10          D.     The Complaint’s APA claims lack a cognizable basis in law for
                   failing to explain what type of actions is being sought to have
11                 reviewed and which statute creates a mandatory duty to act.
12
            The Complaint has failed to identify the legal basis for the APA claim.
13
      When linked to 28 U.S.C. § 1331, the APA vests the Court with jurisdiction to
14
      “compel agency action unlawfully withheld or unreasonably delayed.” 5 U.S.C.
15
      § 706(1). The Complaint does not explain if it seeks review of a final agency
16
      action or an action unreasonably delayed.
17
            Section 704 requires that review of any agency action be of a final agency
18
      action. Lujan v. Nat’l Wildlife Fed’n, 497 U.S. 871, 882 (1990). The reference to
19
      a “final” action deals with a purportedly final decision about release for Lucas R.
20
      to one single sponsor; with a complaint that ORR did not provide the sponsor
21
      “with a written decision.” Comp. ¶ 29. However, as he is not a Plaintiff and the
22
      only “final action” is his release, the finality of that decision has no bearing.
23
24

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 1          To invoke jurisdiction under the APA for an “unreasonable delay” claim, a
 2    petitioner must show that: (1) an agency had a nondiscretionary duty to act, and
 3    (2) the agency unreasonably delayed in acting on that duty. Norton v. S. Utah
 4    Wilderness Alliance, 542 U.S. 55, 63-65 (2004). The primary allegation of delay
 5    appears to stem from the Flores’ litigation settlement that a child will be released
 6    “without unnecessary delay.” Comp. ¶ 103. However, if the complaint is based on
 7    Flores, then litigation in that case, not under the APA is appropriate.
 8          Problematically, the Complaint repeatedly suggests delay in individual
 9    cases, but it does not link that delay to a nondiscretionary duty to act towards the
10    class as a whole. Even assuming Defendants have a nondiscretionary duty to take
11    an action, without identifying the underlying violation, the Court cannot undertake
12    the so-called “TRAC” analysis—that analysis requires the identification for the
13    statutory scheme. Indep. Min. Co. v. Babbitt, 105 F.3d 502, 507 (9th Cir. 1997).
14    Ultimately, Plaintiffs do not like where they are placed—or that they are not placed
15    with the sponsor the next friend would prefer—but they have failed to identify the
16    statutory scheme requiring such results.
17          E.     The Complaint’s Rehabilitation Act allegations lack a legal basis.
18          Plaintiffs have failed to plead a sufficient legal claim or identify sufficient
19    facts to support such a claim. The Rehabilitation Act prohibits discrimination by
20    federally-funded programs “solely” on the basis of disability. See 29 U.S.C.
21    § 794(a). The Ninth Circuit has recognized that the “causal standard for the
22    Rehabilitation Act is even stricter” than the American with Disabilities Act; it
23    “demand[s]” proof that an action was taken “solely by reason of a [complainant’s]

24    disability.” Martin v. California Dep’t of Veterans Affairs, 560 F.3d 1042, 1049

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 1    (9th Cir. 2009) (quoting 29 U.S.C. § 794(a)). Even assuming the named Plaintiffs
 2    are “disabled” under the statute, Plaintiffs have failed to either legally state or
 3    identify facts that suggest ORR was motivated to take the actions challenged here
 4    “solely by reason” of such alleged disabilities. See Comp. ¶ 191-94.
 5          In sum, the Court should dismiss this putative class action lawsuit case for
 6    lack of venue. However, the Court may transfer this case to an appropriate venue.
 7    Under the caselaw, the most appropriate district would be the District for the
 8    District of Columbia. Finally, even if the Court were to not transfer, the Court
 9    should deny the individual claims for failing to be properly plead as a class action.
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